     Case 4:19-cv-07123-PJH        Document 610-1   Filed 03/20/25    Page 1 of 30




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 6    Attorneys for Defendants
      NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
      WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
12    and FACEBOOK, INC., a Delaware
      corporation,                                  DECLARATION OF AARON S. CRAIG
13                                                  IN SUPPORT OF DEFENDANTS NSO
                   Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
14                                                  AND Q CYBER TECHNOLOGIES
            v.                                      LIMITED’S OPPOSITION TO
15                                                  PLAINTIFFS’ MOTION TO EXCLUDE
      NSO GROUP TECHNOLOGIES LIMITED                CERTAIN EXPERT TESTIMONY OF
16    and Q CYBER TECHNOLOGIES LIMITED,             GREGORY A. PINSONNEAULT
17                 Defendants.                      FILED UNDER SEAL
18                                                  [REDACTED VERSION OF DOCUMENT
                                                    SOUGHT TO BE SEALED]
19
                                                    Action Filed: 10/29/2019
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      DECLARATION OF AARON S. CRAIG                                     Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH       Document 610-1          Filed 03/20/25   Page 2 of 30




 1          I, Aaron S. Craig, declare as follows:
 2          1.     I am a member of the California State Bar and the bar of this court. I am a partner

 3 in the law firm of King & Spalding LLP and counsel to NSO Group Technologies Limited and Q

 4 Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have personal

 5 knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 6 to each fact herein.

 7          2.     I submit this declaration in support of Defendants’ Opposition to Plaintiffs’ Motion

 8 to Exclude Certain Expert Testimony of Gregory A. Pinsonneault.

 9          3.     Attached hereto as Exhibit A is a copy of excerpts from the transcript of the

10 September 9, 2024 deposition of Plaintiff WhatsApp Inc.’s (“WhatsApp”) former Public Policy

11 Manager, Susan Glick.

12          4.     Attached hereto as Exhibit B is a copy of excerpts from the transcript of the

13 September 20, 2024 deposition of WhatsApp’s Director of Product Management and former Head

14 of WhatsApp Customer Operations, Aashin Gautam.

15          5.     Attached hereto as Exhibit C is a copy of excerpts from the transcript of the August

16 16, 2024 deposition of Plaintiffs’ Federal Rule of Civil Procedure 30(b)(6) designee, Claudiu

17 Gheorghe.

18          6.     Attached hereto as Exhibit D is a copy of excerpts from the transcript of the August

19 20, 2024 deposition of Plaintiff Meta Platforms, Inc. (f/k/a Facebook, Inc.) security engineer,

20 Cortney Padua.

21          7.     Attached hereto as Exhibit E is a copy of excerpts from the transcript of the

22 November 20, 2024 deposition of Gregory A. Pinsonneault.

23          8.     Attached hereto as Exhibit F is a copy of Trial Exhibit A-1026, which includes an

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       DECLARATION OF AARON S. CRAIG                  1                     Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH        Document 610-1          Filed 03/20/25     Page 3 of 30




 1           9.     Attached hereto as Exhibits G, H, I and J are copies of Trial Exhibits A-1775

 2    through A-1778, inclusive, showing

 3

 4

 5           I declare under penalty of perjury that the foregoing is true and correct. Executed this 19th

 6    day of March 2025, at Los Angeles, California.

 7
                                            /s/ Aaron S. Craig
 8                                           AARON S. CRAIG
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        DECLARATION OF AARON S. CRAIG                  2                        Case No. 4:19-cv-07123-PJH
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 4 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 5 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 6 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 7 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 8 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 9 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 10 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 11 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 12 of 30
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 13 of 30




                         Exhibit B
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 14 of 30




                         Exhibit C
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 15 of 30




                         Exhibit D
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 16 of 30
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 17 of 30



                                                                     Page 1

1                        UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                OAKLAND DIVISION
4
5      WHATSAPP INC., a Delaware                   )
       corporation, and FACEBOOK,                  )
6      INC., a Delaware corporation,               )
                                                   )
7                  Plaintiffs,                     )
                                                   )
8                  vs.                             ) Case No.
                                                   ) 4:19-CV-07123-PJH
9      NSO GROUP TECHNOLOGIES LIMITED              )
       and Q CYBER TECHNOLOGIES                    )
10     LIMITED,                                    )
                                                   )
11                 Defendants.                     )
       _______________________________ )
12
13
14            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
15          VIDEO-RECORDED VIDEOCONFERENCE DEPOSITION OF
16                            GREGORY PINSONNEAULT
17
18                       Wednesday, November 20, 2024
19                        San Francisco, California
20
21
22
23     Stenographically Reported By:
24     Hanna Kim, CLR, CSR No. 13083
25
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 18 of 30



                                                                     Page 2

1                        UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                OAKLAND DIVISION
4
5      WHATSAPP INC., a Delaware                   )
       corporation, and FACEBOOK,                  )
6      INC., a Delaware corporation,               )
                                                   )
7                  Plaintiffs,                     )
                                                   )
8                  vs.                             ) Case No.
                                                   ) 4:19-CV-07123-PJH
9      NSO GROUP TECHNOLOGIES LIMITED              )
       and Q CYBER TECHNOLOGIES                    )
10     LIMITED,                                    )
                                                   )
11                 Defendants.                     )
       _______________________________ )
12
13
14                  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES
15     ONLY, video-recorded videoconference deposition of
16     GREGORY PINSONNEAULT, taken on behalf of the
17     Plaintiffs, located at Davis Polk & Wardwell LLP,
18     44 Montgomery Street, Suite 1050, San Francisco,
19     California 94104, on Wednesday, November 20, 2024,
20     before Hanna Kim, CLR, Certified Shorthand Reporter,
21     No. 13083.
22
23
24
25
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 19 of 30



                                                                     Page 3

1                              APPEARANCES OF COUNSEL:
2
3      For Plaintiffs:
4                    DAVIS POLK & WARDWELL LLP
5                    BY:      MICAH G. BLOCK, ESQ.
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7                    Menlo Park, California 94025
8                    650.752.2000
9                    micah.block@davispolk.com
10                   -and-
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13                   New York, New York 10017
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24
25
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 20 of 30



                                                                     Page 4

1                  A P P EAR AN CE S OF COUNSEL:         (CONT IN UE D)
2
3      Also P res e n t:
4                   T Y LER C ON ROY, Davis Polk
5                   J E FFR EY P RESS, Stout (Via Zoo m)
6                   A R IF DH IL LA, M eta Platforms ( Vi a Zoo m)
7                   S H MUE L SU NRAY, NSO Group (Via Z oo m)
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     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 21 of 30



                                                                     Page 8

1                         San Francisco, California
2                      Wednesday, November 20, 2024
3                  12:06 p.m., Pacific Standard Time
4                                     --o0o--
5                   THE VIDEOGRAPHER:          Good afternoon.          We're
6      on the record.         The time is 12:06 p.m. on
7      November 20th, 2024.
8                   Please note that microphones are sensitive
9      and may pick up whispering and private
10     conversations.
11                  Please mute your phones at this time.
12                  Audio and video recording will continue to
13     take place unless all parties agree to go off the
14     record.
15                  This is Media Unit 1 of the video-recorded
16     deposition of Gregory Pinsonneault taken by counsel
17     for Plaintiff in the matter of WhatsApp, LLC et al.
18     versus NSO Group Technologies Limited et al. filed
19     in the United States District Court, for the
20     Northern District of California, Oakland Division.
21                  Case number is 4:19-cv-07123-PJH.
22                  The location of this deposition is
23     44 Montgomery Street in San Francisco, California.
24                  My name is Joseph Blea.            I represent
25     Veritext Legal Solutions, and I'm the videographer.
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 22 of 30



                                                                     Page 9

1                   The court reporter is Hanna Kim, also from
2      the firm Veritext Legal Solutions.
3                   I am not authorized to administer an oath.
4      I'm not related to any party in this action, nor am
5      I financially interested in the outcome.
6                   If there are any objections to proceeding,
7      please state them at the time of your appearance.
8      Zoom appearances will be noted on the written
9      record.
10                  Counsel and all present will now state
11     their appearances and affiliations for the record,
12     beginning with the noticing attorney.
13                  MR. BLOCK:       Micah Block from the law firm
14     of Davis Polk for Plaintiffs.
15                  With me, also from Davis Polk are Luca
16     Marzorati and Tyler Conroy.             Also, present on Zoom,
17     Jeffrey Press from Stout.           And I expect we will have
18     joining Arif Dhilla from Meta Platforms.                   I'm not
19     sure when he'll jump on.
20                  MR. CRAIG:       Aaron Craig from King &
21     Spalding.
22                  With me is Shmuel Sunray of NSO Group.
23                  THE VIDEOGRAPHER:          Thank you.       Will the
24     court reporter please swear in the witness and
25     counsel may proceed.
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 23 of 30



                                                                    Page 10

1                             GREGORY PINSONNEAULT,
2                  having been duly administered an oath,
3                  was examined and testified as follows:
4
5                                  EXAMINATION
6      BY MR. BLOCK:
7             Q.      Good afternoon, Mr. Pinsonneault.
8             A.      Good afternoon.
9             Q.      You've been deposed many times; right?
10            A.      Yes, I have.
11            Q.      Because I will dispense with the
12     instructions about how the process proceeds.
13                    Is there any reason you can't give
14     complete and accurate testimony today?
15            A.      No.
16                    MR. BLOCK:     I'll mark two exhibits.
17                    (Pinsonneault Deposition Exhibit 2089 was
18                    marked for identification.)
19                    (Pinsonneault Deposition Exhibit 2090 was
20                    marked for identification.)
21                    MR. BLOCK:     This is -- why don't you go
22     ahead and mark it.          Is it 2039?
23                    THE COURT REPORTER:        2089.
24     BY MR. BLOCK:
25            Q.      Mr. Pinsonneault, you've been handed two
     Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 24 of 30



                                                                  Page 206

1      Ms. Trexler.
2      BY MR. BLOCK:
3             Q.    Yeah.     Maybe you think the jury ought to
4      return no damages, but you're not -- you haven't
5      performed a calculation where you try to figure out
6      what you think actual damages are and you come up
7      with the number zero; is that accurate?
8                   MR. CRAIG:       Object to form.
9                   THE WITNESS:       I -- I think that question
10     is accurate as I understood your question.
11     BY MR. BLOCK:
12            Q.    What do you understand to be the meaning
13     of the phrase "actual damages"?
14            A.    So I've -- I've also -- often heard actual
15     damages referred to as lost profits.                 It's -- it's
16     effectively the -- the damages to the -- the
17     plaintiff.
18                  And I realize actual damages is not always
19     lost profits, but it's -- it's damage caused to the
20     plaintiffs whether in the form of an expense that it
21     had to incur or a revenue that it did not earn due
22     to some -- some sort of ac- -- action.
23            Q.    For purposes of your opinions in this
24     case, you assume that Defendants are liable in
25     Plaintiffs' claims; correct?
     Case 4:19-cv-07123-PJH    Document 610-1   Filed 03/20/25   Page 25 of 30



                                                                   Page 321

1                             CERTIFICATE OF REPORTER
2                   I, Hanna Kim, a Certified Shorthand
3      Reporter, do hereby certify:
4                   That prior to being examined, the witness
5      in the foregoing proceedings was by me duly sworn to
6      testify to the truth, the whole truth, and nothing
7      but the truth;
8                   That said proceedings were taken before me
9      at the time and place therein set forth and were
10     taken down by me in shorthand and thereafter
11     transcribed into typewriting under my direction and
12     supervision;
13                  I further certify that I am neither
14     counsel for, nor related to, any party to said
15     proceedings, not in anywise interested in the
16     outcome thereof.
17                  Further, that if the foregoing pertains to
18     the original transcript of a deposition in a federal
19     case, before completion of the proceedings, review
20     of the transcript [X] was [ ] was not requested.
21                  In witness whereof, I have hereunto
       subscribed my name.
22     Dated:     This 26th day of November, 2024.
23
                                 <%6538,Signature%>
24                             ___________________________
                                Hanna Kim
25                             CLR, CSR No. 13083
Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 26 of 30




                         Exhibit F
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 27 of 30




                         Exhibit G
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 28 of 30




                         Exhibit H
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 29 of 30




                         Exhibit I
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Case 4:19-cv-07123-PJH   Document 610-1   Filed 03/20/25   Page 30 of 30




                         Exhibit J
       REDACTED VERSION OF DOCUMENT PROPOSED
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